      Case 2:23-cv-02442-JWB-RES Document 7-1 Filed 10/23/23 Page 1 of 5
         BARON BMW
         9010 SHAWNEE MISSION PKWY                                                                                                                            DEAL# 112114 OUST# 198297
         MERRIAM, KS 66202                                                              E3 Purchase                      Lease                   Log No. 112114
      913/722-5100
                                                                                                               Prospect No.                                  198297
                                                                        A/aSSgfttW
     Customer Name                        KELLI JONNETTE NUSSABAUM
                                                                                                                                                    Date 04/09/2022
                                                                          (Print)
    Customer Address . 1109 NE WATERFIELD VILLAGE DR                                                           BLUE SPRINGS MCFWH4kfeBaa?liguirilonics com
                                                                         (Print)

    Home Phone               816/309-2539                     Bus Phone                                        Cell Phone          816/309-2539                    Sales Person SANTIAGO SANCHEZ
    I hereby agree to purchase/lease from you under                                 Kused Vehicle
                                                                                                                                                 Driver Training Vehicle                Factory Buyback
    the terms and conditions specified the following                                oNew                       Previous Use:
                                                                                                                                                 Lease or Rental Vehicle                Return - Lemon Law
      Stock No.                                      Year             Make                         Model No.                       Model                                                Body Type
      N9J67744                                          2022          BMW                                                              X7                                                   MP
     Color                         Trim                              Mlles                         Cyl.                            Serial No.                            Key No.        License No.
      WHITE                                                            2931                                                       5UXCX6C02N9J67744
     TRADE-IN INFORMATION                                              OPTIONAL EQU                                                                       PORCHASEINPORMAhW
     Year                   Make                                                          a .             pmce                                    Li-

     Model
                                                                                                                                                                                                     121202.00
                            Body Style

     Cyl,
                                                                                                                                                                                                                 N/A
                            Mileage
                                                                                                                                                                                                     121202.00
     Color                  Trim
                                                                                                                                            Selling Price
                                                                                                                                                                                                     113995.00
     License No.
                                                                                                                                            Rebate
                                                                                                                                                                                                                 N/A
     Vin
                                                                                                                                           Trade Allowance
                                                                                                                                                                                                                 N/A
     Payoff To                                                                                                                             Net Due before
                                                                                                                                           Products 8 Fees                                          113995.00
     Address
                                                                                                                                           BMW Main!                        #                            6024.00
    City/St/Zip
                                                                                                                                                                                                                 N/A
    Phone No.
                                                                                                                                                                                                                 N/A
    Payoff Amount
                                                            N/A
                                                                                                                                                                                                                N/A
    Good Until Date
                                                                                                                                                                                                                N/A
    Draft                  Send Check
                                                                                                                                                                                                                N/A
    Drafting Quoted To
                                                                                                                                          BMW SvcCt                         #                           7350.00
    Date Drafting Given
                                                                                                                                                                                                                N/A
    Loan (Acct. No.)
                                                                                                                                                                                                                N/A
    Quoted By
                                                                                                                                                                                                                N/A
    Quoted To
                                                                                                                                                                                                                N/A
                                                                                                                                                                                                                N/A
                     HEN INFORMATION
                                                                                                                                                                                                                N/A
    To     U.S. BANK N.A.
                                                                                                                                                                                                                N/A
   Address       PQ BOX 679
                                                                                                                                                                                                                N/A
   City/St/Zip WILMINGTON, OH 45177-0679
                                                                                                                                                                                                                N/A
   Draft Thru
                                                                                                                                                                                                                N/A
   Address
                                                                                                                                         Title/Tag Fee                                                        2.50
   City/St/Zip
                                                                                                                                                                                                                N/A
   Amount of Lien                  127970.50                                                                                              Adminlstralive Fee
                                                                                                                                                                                                          599.00
   Lien Date                                                                                                                              Net Due After Products & Fees
                                                                                                                                                                                                   127970.50
   Quoted To                  Quoted By                                                                                                  Federal Excise Tax on items
                                                                                                                                         With
                                                                                                                                                                                                               N/A
   THE     DEALER (SELLER)       RESERVES THE          RIGHT TO ADD TO THE        PURCHASE PRICE OF THE VEHICLE                BEING     State Sales Tax on items with
   PURCHASED AND IDENTIFIED ON THIS AGREEMENT, A CHARGE TO OFFSET THE DEALERS COST INCURRED FOR
                                                                                                                                         •‘ft"                                                                 N/A
   SERVICING OFTHE VEHICLE, INSTALLATION. REPAIRS, ALTERATIONS. IMPROVEMENTS. PREPARATION FOR DELIVERY
   OF THE VEHICLE PRIOR TO SALE AND FOR AFTER SALE FOLLOW UP BY DEALER OF AN Y CUSTOMER SATISFACTION
                                                                                                                                         Dealer Inventory Tax*’ on items
   PROGRAM OR ADDITIONAL DEALER PROFIT. THE CHARGE WILL BE IDENTIFIED AS ADMINISTRATIVE FEE ON THE
   PURCHASE INFORMATION PORTION OF THIS AGREEMENT.
                                                                                                                                         with“@"                                                               N/A
  Title Search Disclosure                                                                                                                Net Balance Due
                                                                                                                                                                                                   127970.50
                             Dealer has performed a title search
                         5Q Dealer has not performed a title search                                                                      Trade Payoff                               +
  By signing below, Purchaser acknowledges the title search disclosure above has been made.
                                                                                                                                                                                                               N/A
                                                                                                                                         Total Cash Price
                                                                                                                                                                                                   127970.50
                                                                                              04/09/2022                                 Cash Received
                                                                                                                                                                                                               N/A
  Purchaser Signa
               [nature                                                                          Date
                                                                                                                                         Rebate as Cash Down                                                   N/A
     N/A                                                                                      N/A
  Co-Purchaser Signature                                                                        Date                                     Total Balance Due
                                                                                                                                                                                   12             127970.50
 The terms of this Buyer’s Order are supplemented by the following representations and promises that the Dealer has made to me:
  USED VEHICLE WHETHER OR NOT SUBJECT TO MANUFACTURER'S WARRANTY ‘THE INFORMATION YOU SEE ON THE WINDOW FORM FOR THIS VEHICLE IS PART OF THIS CONTRACT.
  INFORMATION ON THE WINDOW FORM OVERRIDES ANY CONTRARY PROVISIONS IN THE CONTRACT OF SALE.’ SPANISH.TRANSLATION: Guia papa compradors de vehiculos usados.
                                                                                                                                                                                                       La informacion
  quo ve en el tormularlo de la ventanilla para este vohiculos forma parte del presente contrato. La informacion del formulario de la ventaoilla deja sin efecto toda disposcion en contrario centenida en el contrato
  de vents. The window form and the information on the front and back of this Order comprise the entire agreement affecting this purchase and no other agreement or understanding, cither
                                                                                                                                                                                                  verbal or written, of
  any nature concerning same has been mads or entered info or wifi be recognized. I understand that the Seller does not guarantee the year, model or mileage of the vehicle covered by this Order. I hereby
                                                                                                                                                                                                             certify
  that no credit has been extended to me for the purchase of this vehicle except as appears in writing on the face of this agreement. I have read the matter printed on the back hereof and agree to it as
                                                                                                                                                                                                           a part of
  this Order the same as if it were printed above my signature. I certify that I am 18 years of age, or older, and hereby acknowledge receipt of a copy of this Order.

  * ’ The Dealer's inventory Tax charge is Intended to reimburse Dealer for ad valorem taxes on its motor vehicle inventory. The charge, which is paid by Dealer to the county tax assessor-collector, Is not a tax
  Imposed on Purchaser by the government, and is not required to be charged by the Dealer io the Purchaser.

  ANY WARRANTIES ON THE PRODUCTS SOLD HEREBY ARE THOSE MADE BY THE MANUFACTURER. EXCEPT AS MAY BE SEPARATELY PROVIDED BY THE DEALER
  OR BY APPLICABLE LAW, THE SELLER HEREBY EXPRESSLY DISCLAIMS ALL WARRANTIES, EITHER EXPRESS OR IMPLIED, AND NEITHER ASSUMES NOR
  AUTHORIZES ANY OTHER PERSON TO'XsSDBiE-.FOR IT ANY LIABILITY IN CONNECTION WITH THE SALE OF SAID PRODUCTS. ALL EQUIPMENT EXCHANGED
  BECOMES PROPERTY OF SELLER    CONSIDERATION OF LABOR CHARGES.


this contract and the retail installment contrary.                                                        >—                                                       1/^'1     i.
                                                                                                                   PURCHASER SIGNATURE



APPROVED                                                                                                            CO-PURCHASER           N/A

                                                                                                   6011 0*1 *KS51S-F1
              Case 2:23-cv-02442-JWB-RES Document 7-1 Filed 10/23/23 Page 2 of 5
                                                                                                                                                                                              OEAL# 112114
     ITEMIZATION OF AMOUNT FINANCED                                                                                                       Insurance. You may buy the physical damage insurance
     1        Cash Price (including $                N/A .sales tax)                                                                      this contract requires from anyone you choose or you may
                                                                                                                     113995.00
                                                                                                                                   (1)    provide the required insurance through an existing policy
                                                                                                                                          owned or controlled by you. Insurance you provide must be
     2 Total Downpayment =                                                                                                                acceptable to us. You are not required to buy any other
                                                                                                                                          Insurance to obtain credit unless the box indicating Vendor’s
                       Trade-In                                  N/A                                                                      Single Interest Insurance is required is checked below.
                                  (Year)       (Make)                       (Model)                                                             If any insurance is checked below, policies or
                                                                                                                                          certificates from the named insurance companies will
                       Gross Trade-In Allowance                                                       $.               N/A                describe the terms and conditions.
                       Less Pay Off Made By Seller to N/A                                                              N/A                     Check the insurance you want and sign below:
                       Equals Net Trade In
                                                                                                      $.              N/A                                   Optional Credit Insurance
                       + Cash                                                                         $.              N/A                     Credit Life:           Buyer         Co-Buyer          Both
                       + Other N/A                                                                                    N/A                     Credit Disability:         Buyer         Co-Buyer           Both
                       + Other __N/A                                                                                  N/A                 Premium:
                       + Other . N/A                                                                                                          Credit Life $                           N/A
                                                                                                                      N/A
                       (If total downpayment is negative, enter “0" and see 41 below)                                                         Credit Disability $                     N/A
                                                                                                                             0.00 p,
     3       Unpaid Balance of Cash Price (1 minus 2)                                                               113995.00 ct          Insurance Company Name N/A
                                                                                                            $.
                                                                                                                                             N/A
  4 Other Charges Including Amounts Paid to Others on Your Behalf
                                                                                                                                          Home Office Address                N/A
             (Seller may keep part of these amounts):
                                                                                                                                             N/A
             A Cost of Optional Credit Insurance Paid to Insurance Company or Companies.
                                                                                                                                          Credit life insurance and credit disability insurance are not
                Life                                                          $                N/A                                        required to obtain credit. Your decision to buy or not buy credit life
                Disability                                                    $                N/A $                  N/A                 insurance or credit disability insurance will not be a factor in the
                                                                                                                                          credit approval process. They will not be provided unless you sign
             B Vendor’s Single Interest Insurance Paid to Insurance Company                          $                N/A                 and agree to pay the extra cost. If you choose this insurance, the
             C Other Optional Insurance Paid to Insurance Company or Companies                       3                N/A                 cost is shown in Item 4A of the Itemization of Amount Financed.
                                                                                                                                          Credit life insurance is based on your original payment schedule.
             D Optional Gap Contract                                                                 $                N/A                 This insurance may not pay all you owe on this contract if you
             E Official Fees Paid to Government Agencies                                                                                  make late payments. Credit disability insurance does not cover
                                                                                                                                          any increase in your payment or in the number of payments.
                 to N/A                                    tor    N/A                                                                    Coverage for credit life insurance and credit disability insurance
                 to N/A                                    for    n/A                                                                    ends on the original due date for the last payment unless a
                                                                                                                                         different term for the insurance is shown below.
                 to N/A                                    for    N/A
         F Government Taxes Not Included in Cash Price                                    _
         G Government License and/or Registration Fees
                        N/A                                                                                                                                Other Optional Insurance
                        N/A                                                                                          N/A                                                  N/A                        NZA
                                                                                                     $.
         H Government Certificate of Title Fees                                                                      2.50                                  Type of Insurance                     Term
                                                                                                     $.
         I     Other Charges (Seller must identify who Is paid and describe purpose.)                                                    Premium $                        N/A
                 to n/a                                    for Prior Credit or Lease Balance                         N/A                 Insurance Company Name
                 to BARON BMW                              for ADMIN FEE                                           599.00                                                 N/A
                 to     BARON BMW                          for   BMW SycCt                                        7350.00                Home Office Address
                 to BARON BMW                              for BMWMaint                                           6024.00                                                 N/A
                                                                                                     $.
                 to N/A                                    for N/A                                                   N/A                                                  N/A                        N/A
                 to MA                                    for N/A                                                                                          Type of insurance                     Term
                                                                                                     $.              N/A
                 to     N/A                               for N/A                                    $.              N/A                 Premium $                        ff/A
                 to     N/A                               for N/A                                    $.              N/A                 Insurance Company Name
                 to     N/A                               for N/A                                    $.              N/A                                                  N/A
                 to     N/A                               for N/A                                                    N/A                 Home Office Address
                                                                                                     $.
                 to N/A                                   for N/A                                                    N/A                                                  N/A
                                                                                                     $.
                                                                                                                                         Other optional insurance is not required to obtain credit. Your
                 to N/A                                   for N/A                                    $.              N/A
                                                                                                                                         decision to buy or not buy other optional insurance will not be a
                 to N/A                                   for N/A                                    $.              N/A.                factor in foe credit approval process. It will not be provided
                                                                                                                     13975.50 (4)        unless you sign and agree to pay the extra cost.
               Total Other Charges and Amounts Paid to Others on Your Behalf                               $.
                                                                                                                   127970.50             I want the insurance checked above,
 5       Amount Financed (3 + 4)                                                                           $.
                                                                                                                                         X                   N/A                                 N/A
OPTION:                  You pay no finance charge if the Amount Financed, item 5, is paid in full on or before                          Buyer Signature                                          Date
                                      N/A               year J^A        . SELLER'S INITIALS          N/A                                 X                   N/A               _____            N/A
                                                                                                                                         Co-Buyer Signature                                       Date

The Annual Percentage Rate may be negotiable with the Seller.                                                                            THIS INSURANCE DOES NOT INCLUDE INSURANCE
The Seller may assign this contract and retain its right to receive                                                                      ON YOUR LIABILITY FOR BODILY INJURY OR
a part of the Finance Charge.                                                                                                            PROPERTY DAMAGE CAUSED TO OTHERS.


HOW THIS CONTRACT CAN BE CHANGED. This contract contains th e entire agreement between you and us relating to this contract. Any change to this contract must be in writing
and we must sign it. No oral changes are binding.                    Buyer Signs X                                              Co-Buyer Signs X wa
If any part of this contract is not valid, all other parts stay valid. We may delay or refrain from enforcing any of our rights under this contract without losing them. For example, we
may extend the time for making some payments without extending the time for making others.
See the rest of this contract for other important agreements.
NOTICE TO CONSUMER. 1. Do not sign this agreement before you read it 2. You are entitled to a copy of this agreement.
3. You may prepay the unpaid balance at any time without penalty.

You agree to the terms of this contract. You confirm that before you signed this contract, we gave it to you, and you
were free to take it and review it. You confirm that you received a completely filled-in copy when you signed it.

Buyer Signs X A'Q                                                                 Date 04/09/2022 Co-Buyer Signs ILUffl                              —.                            Date           N/A

Buyer Printed Name KELLI JONNETTE NUSSABAUM                                               Co-Buyer Printed Name
                                                                                                                                                               N/A
If the ’business" use box is checked in "Primary Use for Which Purchased": Print Name —N/A                                                         .Title
Co-Buyers and Other Owners — A co-buyer is a person who is responsible for paying the entire debt. An other owner is a person whose name is on the title to the vehicle but does not
have to pay the debt. The other owner agrees to the security interest in the vehicle given to us in this contract.
Other owner signs here X—                                                                        —- Address ty/A
Seller signs BARON BMW                                                  7%. ) Ham
                                                                              Date 04/09/2022
                                                                                   04/09/2022              By X                              llllkn                                 Title Fl MANAGER


Seller assigns its interest in this contract to U.S. BANK N.A.                                                                 (Assignee) under the terms of Seller’s agreements) with Assignee.

               Assigned with recourse                                                   XI Assigned without recourse                                                 Assigned with limited recourse
Seller         BARON BMW

ByX                                                                                                                                                Title     Fl MANAGER

                                                                                           SB317TKS51S-FI                                                                      04/09/2022        04:10 pm

                       THERE ARE HO WARRANTIES, EXPRESS OR IMPLIED, AST0 CONTENT OR                                                                  LAW 553-KS-eps-U 3/21 v1                  Page 3 of 3
                       FITNESS FOR PURPOSE OF THIS FORM. CONSULT YOUR OWN LEGAL COUNSEL
         Case 2:23-cv-02442-JWB-RES Document 7-1 Filed 10/23/23 Page 3 of 5

                                                                                       553-KS-eps-1 4 3/21
                                                                              RETAIL INSTALLMENT SALE CONTRACT
                                                                                    SIMPLE FINANCE CHARGE                                                                                    OUST# 198297
       014386                                                                                                                                                                              STK# N9J67744
      Buyer Name and Address                                                                                                                                                                DEAL# 112114
                                                                                  Co-Buyer Name and Address
      (Including County and Zip Code)                                                                                                             Seller-Creditor (Name and Address)
                                                                   aftnA (Including County and Zip Code)
      KELLI JONNETTE NUSSABAUIVT                                        ‘                                                                         BARON BMW
      1 1 09 NE WATERFIELD VILLAGE DR                                                                                                             9010 SHAWNEE MISSION PKWY
      BLUE SPRINGS             MO 64014-1835                                                                                                      MERRIAM KS 66202
      JACKSON
                                                                                                                                                  913-722-5100

    You, the Buyer (and Co-Buyer, if any), may buy the vehicle
                                                                below for cash or on credit. By signing this contract, you choose
    credit under the agreements in this contract. You agree to                                                                      to buy the vehicle on
                                                               pay the Seller - Creditor (sometimes “we" or “us" in this contract)
    and Finance Charge in U.S. funds according to the payment                                                                      the Amount Financed
                                                                       schedule below. We will figure your finance charge on a
    Truth-In-Lending                                                                                                                    daily basis. The
                             Disclosures below are part of this contract.
      New/Used             Year             Make and Model                        Odometer               Vehicle Identification Number                     Primary Use For Which Purchased
                                                                                                                                                           Personal, family, or household unless
                                                      BMW                                                                                                       otherwise indicated below
       USED             2022                          X7                                                                                             business
                                                                                       2931               5UXCX6C02N9J67744
                                                                                                                                                     agricultural                  N/A
                                  FEDERAL TRUTH-IN-LENDING DISCLOSURES
                                                                                                                                                  Returned Check Charge: If any check you give
        ANNUAL                         FINANCE                      Amount                          Total of               Total Sale             us is dishonored, you will pay a charge of
      PERCENTAGE                       CHARGE                       Financed                       Payments                  Price
             RATE                       The dollar                The amount of                                                                  $ —3Q ... if we demand that you do so.
                                                                                                The amount you          The total cost of
           The cost of                 amount the                 credit provided              will have paid after     your purchase on
         your credit as                 credit will                  to you or                 you have made all
         a yearly rate.                                                                                                 credit, including            VENDOR'S SINGLE INTEREST INSURANCE (VSI
                                        cost you.                on your behalf.                   payments as             your down
                                                                                                   scheduled.              payment of            insurance): If the preceding box Is checked, the Creditor

                                                                                                                      $_           0.00 Is       requires VSI insurance for the initial term of the contract to
                     5,93%        $         24796.94         ;
                                                             $          127970.50                       152767,44
                                                                                               $                              152767.44          protect the Creditor for loss or damage to the vehicle
     Your Payment Schedule Will Be:                                                                                                              (collision, fire, theft, concealment, skip). VSI insurance is for
                                                                                                                  (e) means an estimate
      Number of              Amount of          “I                      When Payments                                                            the Creditor’s sole protection. This Insurance does not
      Payments               Payments                                      Are Dus                                                               protect your interest in the vehicle. You may choose the
                                                                                                                                                 Insurance company through which the VSI Insurance Is
           72          $              2121.77                    MONTHLY                                    beginning      05/24/2022            obtained. If you elect to purchase VSI insurance through the
                                                                                                                                                Creditor, the cost of this insurance Is $ .              N/A_
           N/A         $              N/A             N/A                                                                                        and is also shown in Item 48 of the Itemization of Amount

                                                                                                                                                Financed. The coverage is for the initial term of the contract

           N/A
                                                                                                                                                APPLICABLE LAW
    Late Charge, If payment is not received In full within                  IQ.        days after it is due, you will pay a late charge of      Federal law and the law of the state of
       5         % Of {he part of       payment that is late. If the vehicle is primarily for personal, family,                                 Kansas apply to this contract. This contract
                                                                                                                        or household use,
   the maximum charge for each late payment will be $                                                                                           shall be subject to the provisions of the
                                                                        25.        .
   Prepayment. If you pay early, you will not have to pay a penalty.                                                                            Kansas Uniform Consumer Credit Code
   Security Interest. You are giving a security interest in the vehicle being                                                                   (including Article 2, Parts 2 and 5) unless you
                                                                              purchased.
   Additional Information: See this contract for more information including                                                                     are a corporation or the vehicle is purchased
                                                                             information about nonpayment, default,
   any required repayment in full before the scheduled date and security
                                                                         interest.                                                              primarily for business or agricultural use.

   Used Car Buyers Guide. The information you see on the window
                                                                                                                form for this vehicle is part of
                                                                                                          this contract. Information on the
   window form overrides any contrary provisions in the
                                                          contract of sale.
   Spanish Translation: Guia para compradores de vehiculos
                                                              usados. La informacion que ve en el formulario de la ventanilla
   vehiculo forma parte del presente contrato. La informacion                                                                      para este
                                                              del formulario de la ventanilla deja sin efecto toda disposicion
   contenida en el contrato de venta.                                                                                          en contrario


   OPTIONAL GAP CONTRACT. A gap contract (debt cancellation
                                                                                              contract) is not required to obtain credit and will not be provided
                                                                                                                                              you sign below and agreeunless
   to pay the extra charge. If you choose to buy a gap contract, the charge
                                                                                   is shown in Item 4D of the Itemization of Amount Financed. See your
   details on the terms and conditions it provides. It is a part of this                                                                               gap contract for
                                                                         contract.

  Term                N/A
                                                                 Mos.                                                                           N/A
                                                                                                                                             Name of Gap Contract
  I want to buy a gap contract.

  Buyer Signs X                                            N/A



                                            NO COOLING OFF PERIOD
  State law does not provide for a “cooling off" or cancellation period
                                                                        for this sale. After you sign this contract,
  you may only cancel it if the seller agrees or for legal cause. You
                                                                      cannot cancel this contract simply because
  you change your mind. This notice does not apply to home solicitatio
                                                                          n sales.

  NOTICE: ANY HOLDER OFTHIS CONSUMER CREDIT CONTRACT IS
                                                        SUBJECTTO ALL CLAIMS AND DEFENSES WHICH
  THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS
                                                        OR SERVICES OBTAINED PURSUANT HERETO OR
  WITH THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE DEBTOR
                                                               SHALL NOT EXCEED AMOUNTS PAID BY
  THE DEBTOR HEREUND                        ER.
  The preceding NOTICE applies only to goods or services obtained primarily
                                                                                 for personal, family, or household use. In all other
  cases, Buyer will not assert against any subsequent holder or assignee of this
                                                                                 contract any claims or defenses the Buyer (debtor)
  may have against the Seller, or against the manufacturer of the vehicle or equipment
                                                                                         obtained under this contract.




                                                                                                    88317*1 ‘KS51S-FI

Buyer Initials X                        Co-Buyer Initials X             N/A                                                                            LAW 553-KS-eps-14 3/21 v1                Page 1 of 3
 Case 2:23-cv-02442-JWB-RES Document 7-1 Filed 10/23/23 Page 4 of 5

                                                        ADDITIONAL TERMS AND CONDITIONS
        1.  As used in this Order the terms (a) “Seller” shall mean the authorized Dealer to whom this Order is addressed and who shall become a
  party hereto by its acceptance hereof, (b) ''Purchaser" shall mean the party executing this Order as such on the face hereof, and (c) “Manufacturer”
  shall mean the Corporation that manufactured the vehicle or chassis, it being understood by Purchaser and Seller that Seller is in no respect the
  agent of Manufacturer, that Seller and Purchaser are the sole parties to this Order and that reference to Manufacturer herein is for the purpose
                                                                                                                                                    of
  explaining generally certain contractual relationships existing between Seller and Manufacturer with respect to new motor vehicles.
       2.   Manufacturer has reserved the right to change the price to Dealer of new motor vehicles without notice. In the event the price to Dealer of
  new motor vehicles of the series and body type ordered hereunder is changed by Manufacturer prior to delivery of the new motor vehicle ordered
  hereunder to Purchaser, Dealer reserves the right to change the cash delivered price of such motor vehicle to Purchaser accordingly. If such cash
  delivered price Is increased by Dealer, Purchaser may, if dissatisfied therewith, cancel this Order.

        3.   If the used motor vehicle which has been traded in as a part of the consideration for the motor vehicle ordered hereunder is not to be
  delivered to Dealer until delivery to Purchaser of such motor vehicle, the used motor vehicle shall be reappraised at that time and such reappraised
  value shall determine the allowance made for such used motor vehicle. If such reappraised value is lower than the original allowance thereof
  shown on the front of this Order, Purchaser may, if dissatisfied therewith, cancel this Order, provided, however, that such right to cancel is exercised
  prior to the delivery of the motor vehicle ordered hereunder to the Purchaser and surrender of the used motor vehicle to Dealer.

       4.    Purchaser agrees to deliver to Dealer satisfactory evidence of title to any used motor vehicle traded in as a part of the consideration for
  the motor vehicle ordered hereunder at the time of delivery of such used motor vehicle to Dealer. Purchaser warrants any such used motor vehicle
  to be his property free and clear of all liens and encumbrances except as otherwise noted herein. The Purchaser agrees to pay in cash, on demand
  by the dealer, any balance owed on the trade-in in excess of the amount shown on the front of this buyer’s order.

     5.   Manufacturer has reserved the right to change the design of any new motor vehicle, chassis, accessories or parts thereof previously
 purchased by or shipped to Dealer or being manufactured or sold In accordance with Dealer’s orders. Correspondingly, in the event of any such
 change by Manufacturer, Dealer shall have no obligation to Purchaser to make the same or any similar change in any motor vehicle, chassis,
 accessories or parts thereof covered by this Order either before or subsequent to delivery thereof to Purchaser,

      6.   Dealer shall not be liable for failure to deliver or delay in delivering the motor vehicle covered by this Order where such failure or delay Is
 due, in whole or in part, to any cause beyond the control or without the fault or negligence of Dealer.
      7.   The price for the motor vehicle specified on the face of this Order includes reimbursement for Federal Excise taxes, but does not include
 sales taxes, use taxes or property taxes based on sales volume, (Federal, State, or Local) unless expressly so stated. Purchaser assumes and
 agrees to pay, unless prohibited by law, any such sales, use or property taxes imposed on or applicable to the transaction covered by this Order,
 regardless of which party may have primary tax liability therefor.
     8. MANUFACTURER'S WARRANTY: ANY WARRANTY ON ANY NEW VEHICLE OR USED VEHICLE STILL SUBJECT TO A
 MANUFACTURER’S WARRANTY IS THAT MADE BYTHE MANUFACTURER ONLY.THE SELLER HEREBY DISCLAIMS ALL WARRANTIES,
 EITHER EXPRESS OR IMPLIED.

    9. PURCHASER SHALL NOT BE ENTITLED TO RECOVER FROM DEALER ANY CONSEQUENTIAL DAMAGES, DAMAGES TO
 PROPERTY, DAMAGES FOR LOSS OF USE, LOSS OF TIME, LOSS OF PROFITS, OR INCOME, OR ANY OTHER INCIDENTAL DAMAGES.
     10. The Purchaser, beforeoratthetimeof delivery of the motor vehicle covered by this Order will execute such other forms of agreement or
 documents as may be required by the terms and conditions of payments Indicated on the front of this Order.

       11. Seller makes no representations concerning fuel economy of the sale unit and any information posted on the sale unit or contained in
 literature relating to the same reflect the results of tests performed, required or prescribed by government agency, upon which Seller has relied.

       12. It is expressly agreed to and understood by Buyer and Seller that in the event of a non-credit transaction, Seller retains a security interest
 in the purchased vehicle until such time as Buyer has paid the Seller for the vehicle.

      Buyer agrees to all the above listed charges.




                                               PLEASE READ CAREFULLY! NOTICE OF ARBITRATION

If you agree to arbitration, you are giving up your right to go to court for claims and disputes arising from this Contract
       •    You or we can choose to have any dispute between us decided by arbitration, and not by a court or by a jury trial.
       •    If a dispute is arbitrated, you give up your right to join in as a class representative or class member on any class claim you may have against us,
            including any right to class arbitration.
       •    in arbitration, discovery and rights to appeal are generally more limited than In a judicial proceeding, and other rights that you and we would have
            in court may be unavailable.
ARBITRATION AGREEMENT: At your or our election, any claim or dispute in contract, tort, statute or otherwise between you and us or our employees,
agents, successors, or assigns that arises out of or relates to your credit application, this Contract or any resulting transaction or relationship including those
with third parties who do not sign this Contract, is to be decided by neutral binding arbitration. The election to arbitrate any claim or dispute may be made
before or after a lawsuit has been filed, and with respect to any counterclaims that may be filed in a lawsuit. The Interpretation and scope of this arbitration
agreement, including the arbitrability of a claim or dispute, is also to be decided by neutral binding arbitration, except for the validity of the waivers of class
action rights. The validity of the waivers of class action rights shall only be determined by a court of competent jurisdiction.
           If you or we choose to arbitrate any claim or dispute, you and we agree that no trial by jury or other Judicial proceeding shall take place. In addition,
you agree not to participate as a class representative or class member on any class claim that you may have against us, including class arbitration.You and
we also agree that any claim or dispute is to be heard and decided by one arbitrator on an individual basis, and not as a class action.
           For the arbitration, you or we may choose one of the following arbitration administrators with its applicable rules: the American Arbitration
Association (‘AAA), 335 Madison Ave., Floor 10, New York. NY 10017-4605 (www.adr.org) or JAMS (’JAMS’), 1920 Main Street, Suite 300, Irvine, California'
92614, www.jamsadr.com.You can get a copy of the rules of these arbitration administrators by contacting them directly or visiting their websites. If for any
reason neither the AAA nor JAMS are willing or available to administer any arbitration , you and we shall attempt to reach an agreement on an alternative
arbitration administrator or arbitrator. In the event you and we cannot reach such an agreement, an alternative arbitration administrator or arbitrator may be
appointed by a court in accordance with the Federal Arbitration Act (‘FA/?),
           Any arbitration hearing will be conducted in the federal judicial district where the dealership from which you purchased the vehicle is located,
unless you and we agree otherwise. You and we shall pay the fees and costs specified by the applicable rules of the arbitration administrator selected.
As part of any award, the arbitrator may assess the fees and costs associated with any arbitration In accordance with applicable law. You and we shall be
responsible for our own attorney fees associated with any arbitration, unless otherwise allowed for under applicable law and awarded by the arbitrator.
           The arbitrator will be a lawyer or a former judge. In making an award, the arbitrator shall follow governing substantive law. The arbitrator has the
authority to order specific performance, monetary damages and punitive damages or to provide any relief allowed by applicable law. Other than the grounds
for review under the FAA, the arbitration award is final and binding on all parties. Any court having jurisdiction may enforce the arbitrator’s award.
           You and we retain rights to self-help remedies and to seek remedies in small claims court for claims or disputes within that court’s jurisdiction,
unless those claims or disputes are transferred, removed, or appealed to a different court. You and we retain rights to take measures that do not involve
                                                                                                                                                               a
court or arbitration. These measures include, but are not limited to, setting off against a deposit account, repossessing property, and foreclosing on property.
You or we may obtain a temporary court order necessary to prevent harm until the arbitration Is completed. By exercising any retained rights or by taking
measures that do not involve a court or arbitration, neither you nor we waive the right to arbitrate any claim or dispute.
           You agree that the Contract involves interstate commerce, and that the FAA (9 U.S.C. § 1 et. seq.) governs this arbitration agreement and not
any state law concerning arbitration, including state law arbitration rules and procedures. This arbitration agreement survives any termination,
                                                                                                                                                          payoff or
transfer of this Contract. Except for the waivers of class action rights, if any part of this arbitration agreement is found to be unenforceable, the remainder is
enforceable. If the waivers of class action rights are found to be invalid by a court of competent jurisdiction, then this entire arbitration agreement shall be
deemed invalid.
           By signing the Contract, you and we understand and agree to be bound by Its terms, and expressly waive our rights to a trial by jury and judicial
process, and review, except as allowed by law. Nevertheless If you do not want this arbitration agreement to apply, you may reject it by mailing a written
notice to us at:
Group 1 Automotive. Inc. Attn- General Counsel. 800 Gessner, Suite 500, Houston Texas 77024, that describes the Contract and that states you are rejecting
the arbitration agreement. A rejection notice is only effective if it Is signed by each borrower, and the envelope that it is sent in is postmarked no more than
five calendar days after the Contract. If you reject the arbitration agreement, it will not affect any other terms of the Contract If you do not properly reject the
arbitration agreement, it will be effective as of the date of the Contract.
           Caution: It is important that you read this arbitration agreement thoroughly before you sign this Contract. By signing it, you acknowledge that you
have read and understand this arbitration agreement, and have received a copy of it If you do not understand something in this arbitration agreement, do
not sign this Contract; instead ask your lawyer.
           Case 2:23-cv-02442-JWB-RES Document 7-1 Filed 10/23/23 Page 5 of 5
     OTHER IMPORTANT AGREEMENTS

     1.    FINANCE CHARGE AND PAYMENTS                                                                    If you pay late, we may also take the steps described below.
           a.  How we will figure Finance Charge. We will figure the                              b.      You may have to pay all you owe at once. If you break your
               Finance Charge on a dally basis at the Annual Percentage Rate                              promises (default), we may demand that you pay what you owe
               on the unpaid part of the Amount Financed.                                                 at once after we give you any notice the law requires. Default
           b.  How we will apply payments. We may apply each payment to                                   means:
               the earned and unpaid part of the Finance Charge, to the                                   •    You do not pay any payment on time; or
               unpaid part of the Amount Financed and to other amounts you                                •    You give false, incomplete,    or misleading information
               owe under this contract in any order we choose as the law                                       during credit application, you start a proceeding in
                    allows.                                                                                    bankruptcy or one is started against you or your property,
           c.       How late payments or early payments change what you                                        or you break any agreements in this contract, except that
                 must pay. We based the Finance Charge, Total of Payments,                                     if you bought the vehicle primarily for personal, family or
                 and Total Sale Price shown on page 1 of this contract on the                                  household purposes, we will only treat these events as
                 assumption that you will make every payment on the day it is                                  defaults if they significantly impair the prospect of
                 due. Your Finance Charge, Total of Payments, and Total Sale                                   payment, performance, or realization of the collateral. We
                 Price will be more if you pay late and less if you pay early.                               bear the burden of establishing the prospect of significant
                 Changes may take the form of a larger or smaller final payment                              Impairment.
                 or, at our option, more or fewer payments of the same amount                            The amount you will owe will be the unpaid part of the Amount
                 as your scheduled payment with a smaller final payment. We                              Financed plus the earned and unpaid part of the Finance
                 will send you a notice telling you about these changes before                           Charge, any late charges, and any amounts due because you
                 the final scheduled payment is due.                                                     defaulted.
           d.    You may prepay. You may prepay all or part of the unpaid part                   c.      You may have to pay collection costs. You will pay our
                 of the Amount Financed at any time without penalty. If you do                           reasonable costs to collect what you owe, including court costs,
                so, you must pay the earned and unpaid part of the Finance                               attorney fees and collection agency fees, but you will not have
                Charge and all other amounts due up to the date of your                                  to pay both attorney fees and collection agency fees. Collection
                payment.                                                                                 costs will not include costs incurred by our salaried employees
           e.   Your right to       refinance   a balloon    payment. A balloon                          and will not exceed 15% of the amount you owe.
                payment is a scheduled payment that is more than twice as                        d.      We may take the vehicle from you. If you default, we may take
                large as the average of your earlier scheduled payments. If you                          (repossess) the vehicle from you after we give you any notice
                are buying the vehicle primarily for personal, family or                                 the law requires. We may only take the vehicle if we do so
                household use, you have the right to refinance the balloon                               peacefully and the law allows it. If your vehicle has an electronic
                payment when due without penalty. The terms of the refinancing                           tracking device (such as GPS), you agree that we may use the
                will be no less favorable to you than the terms of this contract.                        device to find the vehicle. If we take the vehicle, any
                This provision does not apply if we adjusted your payment                                accessories, equipment, and replacement parts will stay with
                schedule to your seasonal or irregular income.                                           the vehicle. If any personal items are in the vehicle, we may
                                                                                                          store them for you. If you do not ask for these items back, we
 2.       YOUR OTHER PROMISES TO US                                                                       may dispose of them as the law allows.
           a.   If the vehicle Is damaged, destroyed, or missing. You agree                      e.       How you can get the vehicle back if we take it. If we
                to pay us all you owe under this contract even if the vehicle is                          repossess the vehicle, you may pay to get it back (redeem). We
                damaged, destroyed, or missing.                                                          will tell you how much to pay to redeem. Your right to redeem
           b.   Using the vehicle. You agree not to remove the vehicle from                              ends when we sell the vehicle.
                the U.S. or Canada, or to sell, rent, lease, or transfer any                     1.      We will sell the vehicle If you do not get it back. If you do not
                interest in the vehicle or this contract without our written                              redeem, we will sell the vehicle. We will send you a written
                permission. You agree not to expose the vehicle to misuse,                                notice of sale before selling the vehicle.
                seizure, confiscation, or involuntary transfer. If we pay any                            We will apply the money from the sale, less allowed expenses,
                repair bills, storage bills, taxes, fines, or charges on the vehicle,                    to the amount you owe. Allowed expenses are expenses we
                you agree to repay the amount when we ask for it.                                        pay as a direct result of taking the vehicle, holding it, preparing
          c.    Security Interest.                                                                       it for sale, and selling it. Attorney fees and court costs the law
                You give us a security interest in:                                                      permits are also allowed expenses. If any money is left
                •       The vehicle and all parts or goods put on it;                                    (surplus), we will pay it to you unless the law requires us to pay
                •       All money or goods received (proceeds) for the vehicle;                          it to someone else. If money from the sale is not enough to pay
                •       All insurance, maintenance, service, or other contracts we                       the amount you owe, you must pay the rest to us unless the law
                       finance for you; and                                                              provides otherwise. If you do not pay this amount when we ask,
                •       All proceeds from insurance, maintenance, service, or                            we may charge you interest at a rate not exceeding the highest
                        other contracts we finance for you. This includes any                            lawful rate until you pay.
                        refunds of premiums or charges from the contracts.                      g-       What we may do about optional insurance, main-tenance,
                This secures payment of all you owe on this contract.                                    service, or other contracts. This contract may contain
                It also secures your other agreements in this contract. You will                         charges for optional insurance, maintenance, service, or other
                make sure the title shows our security interest (lien) in the                            contracts. If we demand that you pay all you owe at once or we
                vehicle. You will not allow any other security interest to be                            repossess the vehicle, you agree that we may claim benefits
                placed on the title without our written permission.                                      under these contracts and cancel them to obtain refunds of
          d.    Insurance you must have on the vehicle.                                                  unearned charges to reduce what you owe or repair the vehicle.
                You agree to have physical damage insurance covering loss of                             If the vehicle is a total loss because it is confiscated, damaged,
                or damage to the vehicle tor the term of this contract. The                              or stolen, we may claim benefits under these contracts and
                insurance must cover our interest in the vehicle. You agree to                           cancel them to obtain refunds of unearned charges to reduce
                name us on your insurance policy as an additional insured and                            what you owe.
                as loss payee. If you do not have this insurance, we may, if we
                choose, buy physical damage Insurance. If we decide to buy                 4.   WARRANTIES SELLER DISCLAIMS
                physical damage insurance, we may either buy insurance that                     The following paragraph does not affect any warranties covering the
                covers your interest and our interest in the vehicle, or buy                    vehicle that the vehicle manufacturer may provide. It only applies if
                Insurance that covers only our interest. If we buy either type of               you are an organization.
                insurance, we will tell you which type and the charge you must                  Unless the Seller makes a written warranty, or enters into a
                pay. The charge will be the premium for the Insurance and a                     service contract within 90 days from the date of this contract,
                finance charge computed at the Annual Percentage Rate                           the Seller makes no warranties, express or implied, on the
                shown on page 1 of this contract. If the vehicle is lost or                     vehicle, and there will be no implied warranties of
                damaged, you agree that we may use any insurance settlement                     merchantability or of fitness for a particular purpose.
                to reduce what you owe or repair the vehicle.
                What happens to returned insurance, maintenance,                           5.   SERVICING AND COLLECTION CONTACTS
                service, or other contract charges. If we get a refund of                       You agree that we may try to contact you in writing, by e-mail, or
                insurance, maintenance, service, or other contract charges, you                 using prerecorded/artificial voice messages, text messages, and
                agree that we may subtract the refund from what you owe.                        automatic telephone dialing systems, as the law allows. You also
                                                                                                agree that we may try to contact you in these and other ways at any
3.        IF YOU PAY LATE OR BREAK YOUR OTHER PROMISES                                          address or telephone number you provide us, even if the telephone
          a.    You may owe late charges. You will pay a late charge on each                    number is a cell phone number or the contact results in a charge to
                late payment as shown on page 1 of this contract. Acceptance                    you.
                of a late payment or late charge does not excuse your late
                payment or mean that you may keep making late payments.
                                                                                8831 7*1 *KS51S-FI

Buyer Initials X                      Co-Buyer Initials X   N/A                                                                 LAW 553-KS-eps-14 3/21 vl      Page 2 of 3
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